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DECLARATION OF CUSTODIAN OF RECORDS

Pursuant to 28 U.S.C. §1746, I, the undersigned, hereby declare:
David N. Sternlicht

(name of declarant)

My name is

I am a United States citizen and I am over eighteen years of age. I am the custodian of records of the
business named below, or I am otherwise qualified as a result of my position with the business named below to
make this declaration. I have knowledge of the record keeping system used by this business; this includes how
records are created and maintained.

I am in receipt of a United States District Court Subpoena #GJ2021032374361 dated
March 23, 2021, signed by Assistant United States Attorney Candice C. Wong, requesting specified records of
the business named below.

the license agreement

(Brief description of type of documents being subpoenaed)
responsive to the subpoena. [

understand how these responsive documents were created. Pursuant to Rules 902(11) and 803(6) of the Federal
Rules of Evidence, I hereby certify that the records attached hereto:

Attached hereto are pages of records regarding
between John Sullivan and NBCUniversal Media, LLC

(1) were made at or near the time of the occurrence of the matters set forth in the records, by, or from
information transmitted by, a person with knowledge of those matters;

(2) were kept in the course of regularly conducted business activity, in that the records were created and
preserved pursuant to established procedures, and were relied upon by an employee or this business; and

(3) were made as part of the regularly conducted business activity as a regular practice, in that the records
were created and preserved as part of routine reflections of the normal operations of this business.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on Apia = ae’ LEGA )
(date)
David N_ Atérn

(Repange oe “President
ene
a Media, LLC

(name of business)
30 Rockefeller Plaza

(business address)
New York, NY 10012

(business address)

Definitions of terms used above:

As defined in Fed.R-Evid. 803(6), “record” includes a memorandum, report, record, or data compilation, in any form, of acts, events,
conditions, opinions, or diagnoses. The term “business” as used in Fed.R.Evid. 803(6) and the above declaration includes business,
institution, association, profession, occupation, and calling of every kind, whether or not conducted for profit.
Case Leh cP eC Uhiversal New S (ee oup ~“ Page 2 of 3

Material License Agreement

llivan
John Su Invoice Date: Invoice #

Owner's Full Name (Print Clearly)

Address Email

City State Zip Code Area Code Telephone Number

To NBCUniversal News Group, a division of NBCUniversal Media, LLC (“NBCUniversal”):

I represent and warrant that I am the sole and exclusive owner of all rights, including copyright, in and to the
material described as 40 minute video of exterior and interior protest at The Capitol on 1/6/21 (the “Material”),
the Material is authentic, the events recorded actually occurred and were not staged in any way, no other
consent is necessary for NBCUniversal to exercise the rights granted to NBCUniversal herein and such rights will
not infringe upon the rights of a third party.

I hereby irrevocably grant a non-exclusive license to NBCUniversal for use of the Material for exploitation and
distribution, including in advertising and promotion, in all media now known or hereafter devised, throughout
the world in perpetuity by NBCUniversal and its current and future related companies and their current and
future affiliates, partners, licensees, successors, and assigns. I agree to indemnify and hold harmless
NBCUniversal and its current and future related companies, and their current and future employees, affiliates,
partners, licensees, successors, and assigns from and against any and all claims, damages, liabilities, cost and
expenses (including attorneys’ fees) arising out of a breach of the warranties contained in this agreement.
NBCUniversal in its sole discretion will provide a credit referring to 7he Jayden X and John Sullivan. Omission of
such credit shall not be deemed to be a breach of the agreement.

In full consideration of the rights granted herein, after NBCUniversal’s confirmation of use, NBCUniversal will
pay me a one-time fee of $35,000 (thirty five thousand dollars U.S.) within 75 days upon receipt of dated
invoice and completed W-9 form.

This is the complete and binding agreement between NBCUniversal and me, and it supersedes all prior
understandings and/or communications, both oral and written, with respect to its subject matter. This
Agreement cannot be terminated, rescinded or amended, except by a written agreement signed by both
NBCUniversal and me. This agreement shall be governed by the laws of the State of New York. Any litigation
arising out of or relating to this agreement shall be resolved in a state or federal court located in New York
County, State of New York. I acknowledge that I will not be entitled to injunctive or any other equitable relief.

I understand that NBCUniversal and its entities are under no obligation to use the Material. I have not given
anything of value to NBCUniversal in order that the Material, or any part of it, be included in any programming.

Terms of Agreement Accepted:

iohn Sullivan 1/8/2020
Owner's Signature Date

Email completed forms to:

NBC News Rights & Clearances
30 Rockefeller Plaza

New York, NY 10112
NBCNewsArchivesRC@nbcuni.com

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INVOICE

John Sullivan contact@insurgence.us

a BCUniversal)

Bill to Invoice details
Ee Invoice no. : 1002
Invoice date : 01/27/2021
Due date : 02/11/2021

Product or service Rate Amount

Non-Exclusive License $35,000.00

Non-Exclusive License:
Jan 6th, 2021 - Storming Of The Capito! Footage

Payment Details:
Name:
Addres

Account
Routing:

Total $35,000.00
Note to customer

Thanks for your business. Paid in Full
